                                UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF KANSAS AT KANSAS CITY

    In re:                                                    )
                                                              )
    Pinnacle Regional Hospital, Inc., et al.,1                )    Case No. 20-20219
                                                              )
              Debtors.                                        )    Chapter 7
                                                              )
                                                              )    (Jointly Administered)

                  MOTION OF TRUSTEE TO SEVER JOINT ADMINISTRATION OF
                    JOY’S MAJESTIC PARADISE INC.’S BANKRUPTCY CASE

             COMES NOW James A. Overcash, not individually, but solely as Chapter 7 Trustee in the

above-captioned bankruptcy cases (the “Trustee”) and respectfully submits this Motion of Trustee

to Sever Joint Administration of Joy’s Majestic Paradise, Inc.’s Bankruptcy Case (the “Motion”).

In support of this Motion, the Trustee states as follows:

                                 BACKGROUND AND JURISIDICTION

             1.     On February 12, 2020 (the “Commencement Date”), Pinnacle Regional Hospital

Inc. (“Pinnacle Hospital”), Pinnacle Regional Hospital, LLC (“Pinnacle Booneville”), Blue Valley

Surgical Associates, LLC (“BVSA”), Pinnacle Health Care System, Inc. (“Pinnacle Health”),

Rojana Realty Investments, Inc. (“Rojana”), and Joy’s Majestic Paradise, Inc., (“Joy’s” and

together with the other debtors, collectively, the “Debtors”) filed voluntary petitions for relief

under chapter 11 title 11 of the United States Code (the “Bankruptcy Code”), thereby commencing

the above-captioned bankruptcy cases (collectively, the “Bankruptcy Cases”).

             2.     On March 27, 2020, the Debtors filed their Motion for Joint Administration. (ECF

No. 67).



1
  The Debtors in this case are: Pinnacle Regional Hospital, Inc., Case No. 20-20219; Pinnacle Health Care System,
Inc., Case No. 20-20224; Rojana Realty Investments, Inc., Case No. 20-20225; and Joy’s Majestic Paradise, Inc., Case
No. 20-20227.


CORE/3519737.0002/175113715.1
                     Case 20-20219         Doc# 772        Filed 06/15/22        Page 1 of 4
         3.       On March 30, 2020, the Trustee was appointed as the chapter 11 trustee in the

Bankruptcy Cases (ECF No. 84).

         4.       On April 7, 2020, the Court entered an Order Granting Motion for Joint

Administration of Affiliated Chapter 11 Cases, directing that the Bankruptcy Cases be jointly

administered under the lead case of Pinnacle Hospital (the “Lead Case”) (ECF No. 108).

         5.       On July 23, 2020, the Court entered its Order Granting Trustee’s Motion to Convert

Jointly-Administered Bankruptcy Cases to Chapter 7 of the Bankruptcy Code Pursuant to 11

U.S.C. 1112 (ECF No. 385) (the “Conversion Order”).

         6.       Pursuant to the Conversion Order, on July 31, 2020, the Bankruptcy Cases

converted to cases under Chapter 7 of the Bankruptcy Code.

         7.       On August 3, 2020, the Trustee was appointed as chapter 7 trustee in the

Bankruptcy Cases.

         8.       On December 2, 2020, the Court entered its Memorandum Opinion and Judgment

Ruling on Centinel Spine, LLC’s Motion for Resolution of Dispute Chapter 7 Trustee Elections

(the “Election Opinion”) (ECF. No. 539), declaring the Trustee the elected Chapter 7 trustee in

each of the Debtors bankruptcy cases except for Pinnacle Regional Hospital, LLC (“Pinnacle

Boonville”). Larry Pittman was elected to serve as the Chapter 7 trustee in the Pinnacle Booneville

case.

         9.       The Court has jurisdiction of this motion pursuant to 28 U.S.C. § 1334(a) and (b).

This is a core proceeding pursuant to 28 U.S.C. § 157(b)(A) in that it concerns the administration

of the Debtors' estates.

         10.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409(a).

                                BASIS FOR REQUESTED SEVERANCE



                                                  2
CORE/3519737.0002/175113715.1
                    Case 20-20219      Doc# 772       Filed 06/15/22   Page 2 of 4
         11.      Joy’s has largely completed the administration of its assets and is merely waiting

for the completion of a settlement before final distributions are made and the bankruptcy case is

ready to be closed.

         12.      The Trustee now seeks entry of an order severing Joy’s bankruptcy case from the

jointly-administered Lead Case for the purpose of completing the Joy’s settlement, making

distributions and closing the case.

         WHEREFORE, for the reasons set forth herein, the Trustee prays that the Court enter an

Order severing Joy’s bankruptcy case from the Lead Case, and granting such other and further

relief as is just.



Dated this 15th day of June, 2022.

                                               Respectfully submitted,

                                               STINSON LLP

                                               By: __/s/ Nicholas J. Zluticky
                                               Nicholas J. Zluticky, KS #23935
                                               1201 Walnut, Suite 2900
                                               Kansas City, MO 64106
                                               Telephone: (816) 842-8600
                                               Facsimile: (816) 691-3495
                                               nicholas.zluticky@stinson.com

                                               COUNSEL FOR THE CHAPTER 7 TRUSTEE




                                                  3
CORE/3519737.0002/175113715.1
                     Case 20-20219     Doc# 772       Filed 06/15/22   Page 3 of 4
                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on June 15, 2022, the foregoing document was

electronically filed with the court using the CM/ECF system, which sent notification to all parties

of interest participating in the CM/ECF System.



                                             __/s/ Nicholas J. Zluticky_________________
                                             Counsel for the Chapter 7 Trustee




                                                  4
CORE/3519737.0002/175113715.1
                    Case 20-20219   Doc# 772          Filed 06/15/22   Page 4 of 4
